Case 2:04-cV-02978-.]PI\/|-de Document 4 Filed 08/26/05 Page 1 of 2 Page|D 3
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CROUNSE CORPORATION;
Plaintiff,
v.

No. 04-2978 Ml/V

DYNA STEEL CORPORATION,

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Defendant.

 

ORDER SETTING TELEPHONE CONFERENCE

 

Before the Court is the parties’ Answer to Order to Show Cause,
filed May 16, 2005. The parties, having reached an agreed settlement
on or before January 27, 2005, request that this Court “not dismiss
this case until the parties notify the Court that the agreed judgment
has been paid in full or until the agreed judgment is filed in this
case.” The agreed settlement provides for monthly payments by
Defendant, to be paid in full on or about January l, 2006.

Pursuant to the parties' request, the Court hereby sets a
telephone conference for Thursday, January l9, 2006, at 9:00 a.m., to
discuss the entry of a consent order of dismissal in this case.
Plaintiff Crounse Corporation shall initiate the call With all
parties on the line. If a consent order of dismissal has already

been entered, the telephone conference will be cancelled.

So ORDERED this §@§ day of August , 2 5.
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P. MCCALLA
ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02978 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

lack E. Melvin
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Memphis7 TN 38117

Honorable J on McCalla
US DISTRICT COURT

